 Case 3:18-cr-02611-GPC Document 71-1 Filed 05/24/19 PageID.646 Page 1 of 11



 1 MARTHA M. HALL
   Attorney at Law
 2 California Bar No. 138012
   964 Fifth Avenue, Suite 214
 3 San Diego, California 92101
   Telephone: (619) 544-1451
 4 Facsimile: (619) 544-1473
 5   Attorneys for Defendant BOOKER
 6
 7                           UNITED STATES DISTRICT COURT
 8                        SOUTHERN DISTRICT OF CALIFORNIA
 9                             (HON. GONZALO P. CURIEL)
10
     UNITED STATES OF AMERICA,              )        Criminal No. 18-CR-2611-GPC
11                                          )
           Plaintiff,                       )
12                                          )        STATEMENT OF FACTS AND
     v.                                     )        MEMORANDUM OF POINTS AND
13                                          )        AUTHORITIES IN SUPPORT OF
     AARON A. BOOKER,                       )        DEFENDANT’S MOTIONS
14                                          )
           Defendant.                       )
15                                          )
16
                                                I.
17
                                  STATEMENT OF FACTS
18
     A. History and Background Facts
19
           Mr. Booker is charged in a single count indictment with knowingly possessing,
20
     transporting, concealing, storing, and disposing of “stolen explosive materials, that is,
21
     approximately 20 MK3A2 grenades, also known as G911 grenades, which had been
22
     shipped and transported in interstate commerce, knowing and having reasonable
23
     cause to believe that the explosive materials were stolen,” in violation of Title 18
24
     U.S.C. §§ 842(h) and 844(a)(1). The grenades were discovered missing from the
25
     USS Pinckney (a Navy Ship) on February 8, 2017.
26
           During the investigation of the missing grenades, Mr. Booker was interrogated
27
     twice, on March 13, 2017 and again on May 25, 2017. He was not arrested on either
28
     occasion. However, on May 25, 2017, his iPhone 6 Plus was seized from him without
 Case 3:18-cr-02611-GPC Document 71-1 Filed 05/24/19 PageID.647 Page 2 of 11



 1   a warrant. Moreover, during the May 25th interrogation, after Mr. Booker asserted his
 2   right to counsel, Warpinski surreptitiously, and without consent, recorded Mr.
 3   Booker’s passcode when Mr. Booker used his cell phone to call command requesting
 4   his anti-depressant and anti-anxiety medication.
 5         Mr. Booker was arrested a year later, on April 24, 2018, when he was at his
 6   post with the US Navy as an instructor at the Navy Recruiting Training Command
 7   (RTC) in Great Lakes, Illinois. Mr. Booker was arraigned on the Complaint by the
 8   District Court for the Northen District of Illinois, in Chicago and released on bond
 9   and ordered to appear in the Southern District of California. The Indictment was filed
10   on May 23, 2018, in San Diego and Mr. Booker was arraigned on May 24, 2018.
11   Aaron Booker has remained on bond with incident.
12         The USS Pinckney is a US Navy destroyer vessel, to which approximately 310
13   -320 sailors are posted. Aaron Booker was assigned (or posted to) the USS Pinckney
14   intermittently during 2016. In January 2017, Mr. Booker left the Pinckney for his
15   “dream job” as an instructor at the RTC in Great Lakes. His last day on the Pinckney
16   was January 8, 2017, but he returned to the Pinckney to sign his “detachment” papers
17   on February 14, 2017. Mr. Booker reported for duty at the RTC in Great Lakes on
18   March 6, 2017.
19         On February 8, 2017, sailors aboard the USS Pinckney discovered 20 grenades
20   were missing from one of the lockers on board. On March 13, 2017, NCIS Agent
21   Warpinski traveled to Chicago to interrogate Mr. Booker. Mr. Booker was not
22   arrested on March 13, 2017. On April 20, 2017, Arizona Department of Public Safety
23   (AZPDS) Officer John Bottoms claimed that an unidentified person, claiming to be an
24   Orange County Swat Officer, gave him a backpack containing 18 grenades.
25   According to Bottoms, the putative officer claimed he saw the backpack on the side
26   of Interstate15 while stopped due to a traffic jam caused by a mobile home fire.
27   AZPDS Officer Bottoms was responding to the fire and traffic jam on Interstate 15
28

                                                2
 Case 3:18-cr-02611-GPC Document 71-1 Filed 05/24/19 PageID.648 Page 3 of 11



 1   when the unidentified individual approached him and gave him the backpack. The
 2   backpack was a standard issue black backpack sold at Naval Exchanges. The small
 3   tag inside the backpack had Mr. Booker’s name written on it in magic marker.
 4   Bottoms did not write down the so-called officer’s name or shield number. Nor was
 5   Bottoms bothered by the individual’s removal of the backpack (and grenades) from
 6   the location where they were allegedly found.
 7   B. Facts Specific to the iPhone 6 Plus
 8         Over a month after the Bottoms received the backpack full of grenades, NCIS
 9   Agent Warpinski returned to RTC, Great Lakes, to re-interrogate Mr. Booker.
10   Command called Mr. Booker the night before, instructing him to report to the NCIS
11   offices the following day. On May 25, 2017, Mr. Booker reported to the NCIS
12   offices. He asserted his right to counsel upon being read his Miranda rights. (TR, p.
13   6; 8:56:46).
14         The government concedes that Mr. Booker’s iPhone 6 Plus was seized that day
15   by the NCIS agents. See, ECF Doc. 43, p.4, lines 9-10. However, they did not have a
16   warrant to seize or search the iPhone 6 Plus phone on May 25, 2017. Nor did Mr.
17   Booker consent to a search or seizure of his phone. In fact, Mr. Booker repeatedly
18   refused to consent to the search of his cell phone during the lengthy interrogation.
19   (TR pp. 35, 47-48). Yet, NCIS officers kept his iPhone 6 Plus. Not until June 2,
20   2017 – nine days after the phone was seized – did Warpinski apply for and receive a
21   warrant to search the iPhone 6 Plus seized on May 25, 2017. (See, ECF Doc. 39-2,
22   Warrant to Search iPhone 6 Plus, signed June 2, 2017).
23         Mr. Booker’s iPhone 6 Plus was passcode protected. Mr. Booker did not give
24   the agents his passcode. During the interrogation, when Mr. Booker told the agents
25   that he needed his anti-depressants/anti-anxiety medication, the agents gave him his
26   cell phone ostensibly so he could call his command to request his medication. (TR p.
27   40). Mr. Booker attempted to “open” his phone with the passcode under the table to
28

                                                3
 Case 3:18-cr-02611-GPC Document 71-1 Filed 05/24/19 PageID.649 Page 4 of 11



 1   avoid prying eyes, Warpinski instructed Mr. Booker to put the phone on the table (in
 2   his line of sight). (TR p. 40; 10:01). On the video Warpinski can be seen watching
 3   as Mr. Booker keys in his passcode and then writing the passcode down on his
 4   notepad. (10:01-10:02; TR p. 40).
 5         The passcode was essential to the search of the iPhone 6 Plus. Without the
 6   passcode, the agents would not have been able to access the phone and the data stored
 7   on the phone. This fact is established by the agents’ inability to open Mr. Booker’s
 8   iPhone 7 seized a year later when he was arrested on April 24, 2018. As the
 9   government conceded, it was never able to break through the passcode protection on
10   the iPhone 7 and never retrieved any data from that phone. (ECF 43, p. 5, lines 5-6).
11   In fact, the government returned the iPhone 7 to Mr. Booker at one of the previous
12   motion hearings before this Court. Without the stolen passcode, Warpinski would not
13   have been able to search Mr. Booker’s iPhone 6 Plus either.
14         Mr. Booker moves this Court to suppress the passcode to the iPhone 6 Plus and
15   all the statements and information seized from his iPhone 6 Plus under the Fourth,
16   Fifth, and Sixth Amendments as well as Miranda.
17                                             II.
18         THE ILLEGAL SEIZURE OF THE PASSCODE TO MR.
           BOOKER’S iPHONE 6 PLUS, AFTER MR. BOOKER’S
19         INVOCATION OF HIS SIXTH AMENDMENT RIGHT TO
           COUNSEL, VIOLATED THE FOURTH, FIFTH AND SIXTH
20         AMENDMENTS, AS WELL AS MIRANDA.
21         Warpinski’s surreptitious viewing of Mr. Booker’s passcode to his cell phone
22   and copying the passcode for later use constituted a search in violation of the Fourth
23   Amendment. At the time Warpinski spied on Mr. Booker and took note of his
24   passcode, the agents had no warrant compel and seize the passcode or to search the
25   phone. In addition, the seizure of the passcode violated Mr. Booker’s Fifth
26   Amendment right not to be compelled to give testimony against himself. Finally, the
27   passcode (and the subsequent search and seizure of Mr. Booker’s statements on the
28

                                                4
 Case 3:18-cr-02611-GPC Document 71-1 Filed 05/24/19 PageID.650 Page 5 of 11



 1   phone messaging applications) violated his Sixth Amendment and Miranda rights
 2   since he had asserted his right to counsel and asserted his rights under Miranda prior
 3   to Warpinski’s surreptitious seizure of his passcode.
 4         With the advances in technology, the Supreme Court has explicitly recognized
 5   that today’s cell phones are entitled to greater privacy protection by virtue of the
 6   amount of personal data stored on them, and held that an unlocked smart phones
 7   cannot be searched without a warrant. Riley v. California, 573 U.S. 373, 384-85, 393-
 8   94 and 397-99 (2014). The special protection afforded cell phones under the
 9   Constitution was reaffirmed in Carpenter v. United States, ___ U.S. ___, 138 S.Ct.
10   2206, 2213 (2018), wherein the Supreme Court held that citizens have a cognizable
11   expectation of privacy in the location data which is stored on a cell phone or with the
12   service provider. Carpenter v. United States, ___ U.S. ___, 138 S.Ct. 2206, 2213
13   (2018).
14   A. Warpinski’s Search And Seizure of the Passcode Violated the Fourth Amendment.
15         In Riley v. California, 573 U.S. 373, 393-94 (2014), the Supreme Court
16   unequivocally held that a smart phone, with all of its personal and intimate data, is
17   protected against warrantless and unreasonable searches and seizures under the
18   Fourth Amendment. In fact, the Supreme Court observed, “a cell phone search would
19   typically expose to the government far more than the most exhaustive search of a
20   house: A phone not only contains in digital form many sensitive records previously
21   found in the home; it also contains a broad array of private information never found
22   in a home in any form—unless the phone is.” Id. at 397-98. In the twenty-first
23   century, the right of all women and men to be secure in the data on their cell phones
24   "’and there be free from unreasonable governmental intrusion'" stands "'[a]t the very
25   core' of the Fourth Amendment." Kyllo v. United States, 533 U.S. 27, 31 (2001),
26   quoting Silverman v. United States, 365 U.S. 505, 511 (1961). “Modern cell phones
27   are not just another technological convenience. With all they contain and all they may
28

                                                 5
 Case 3:18-cr-02611-GPC Document 71-1 Filed 05/24/19 PageID.651 Page 6 of 11



 1   reveal, they hold for many Americans ‘the privacies of life,’ . . . . The fact that
 2   technology now allows an individual to carry such information in his hand does not
 3   make the information any less worthy of the protection for which the Founders
 4   fought. Our answer to the question of what police must do before searching a cell
 5   phone seized incident to an arrest is accordingly simple—get a warrant.” Riley, at
 6   403.
 7          Here, Warpinski’s requirement that Mr. Booker place the cell phone in his line
 8   of sight (rather than under the table as he attempted to do) and then surreptitious
 9   capture of the passcode constitutes a warrantless search. Arizona v. Hicks, 480 U.S.
10   321, 325 (1987) (holding the movement of stereo equipment to view the serial
11   number was a search, which was invalid due to the lack of a warrant or any valid
12   exception). The Hicks Court held that the movement of the stereo in order to see and
13   record the serial numbers, an “action, unrelated to the objectives of the authorized
14   intrusion, which exposed to view concealed portions of the apartment or its contents,
15   did produce a new invasion of respondent's privacy unjustified by the exigent
16   circumstance that validated the entry.” Hicks, at 325. So too, here, Warpinski’s
17   command to Mr. Booker that he place the cell phone on the table and surreptitious
18   observation and copying of the passcode were actions that invaded Mr. Booker’s
19   legitimate expectation of privacy. These actions constituted “a new invasion” of Mr.
20   Booker’s privacy “unjustified” by any warrant or exception to the warrant.
21          Following these cases, the U.S. District Court for the Northern District of
22   California held that a search warrant requiring those present at the search of the
23   residence to input their biometric information to unlock a phone exceeded the bounds
24   of a lawful search under the Fourth Amendment. In the Matter of the Search of a
25   Residence in Oakland, California, 354 F.Supp.3d 1010, 1014 (2019). First, the court
26   held there was not probable cause sufficient to “to compel any person who happens to
27   be at the Subject premisses at the time of the search to provide a finger, thumb or
28

                                                  6
 Case 3:18-cr-02611-GPC Document 71-1 Filed 05/24/19 PageID.652 Page 7 of 11



 1   other biometric feather to potentially unlock any unspecified digital device.” Ibid. In
 2   addition, the Oakland Court found the portion of the warrant authorizing seizure of
 3   biometric information to open digital devices was overbroad, in violation of the
 4   Fourth Amendment. Ibid.
 5         At the time Warpinski insisted that Mr. Booker place his phone on the table (in
 6   his line of sight) and surreptitiously copied the passcode, he did not have a warrant
 7   for the search and seizure of the passcode or even the iPhone 6 Plus phone. Nor did
 8   Mr. Booker consent to a search or seizure of his phone. The search and seizure of the
 9   passcode violated the Fourth Amendment and all fruits of that illegal search must
10   therefore be suppressed. The exclusionary rule prohibits introduction into evidence
11   of tangible materials seized during an unlawful search . . . .” Murray v. Untied States,
12   487 U.S. 533, 536 (1988) (citing Weeks v. United States, 232 US. 383 (1914)). It also
13   prohibits officers from testifying as to knowledge acquired during an unlawful search.
14   Id. (citing Silverman v. United States, 365 U.S. 505 (1961)). “Beyond that, the
15   exclusionary rule also prohibits the introduction of derivative evidence, both tangible
16   and testimonial, that is the product of the primary evidence, or that is otherwise
17   acquired as an indirect result of the unlawful search . . . .” Id. Such derivative or
18   indirectly acquired evidence – “fruit of the poisonous tree” – must also be suppressed.
19   Wong Sun v. United States, 371 U.S. 471, 484 (1963). Accordingly, the passcode
20   and all information seized from the iPhone 6 Plus or acquired from the information on
21   the iPhone 6 Plus must be suppressed.
22   B. Taking the Passcode Constituted a Violation of Mr. Booker’s Fifth Amendment
23   Rights.
24         The Fifth Amendment provides that no person “shall be compelled in any
25   criminal case to be a witness against himself.” U.S. CONST. Amend. V. The
26   Supreme Court has recognized that courts have an obligation to safeguard
27   constitutional rights and cannot permit those rights to be diminished merely due to the
28

                                                 7
 Case 3:18-cr-02611-GPC Document 71-1 Filed 05/24/19 PageID.653 Page 8 of 11



 1   advancement of technology. Carpenter v. United States, __ U.S. ___, 138 S.Ct. 2206,
 2   2214 (2018) (quoting Kyllo v. United States, 533 U.S. 27, 36 (2001)). Courts that
 3   have addressed the passcode issue have found that a passcode cannot be compelled
 4   under the Fifth Amendment, because the act of communicating the passcode is
 5   testimonial, as “[t]he expression of the contents of an individual's mind falls squarely
 6   within the protection of the Fifth Amendment.” See Doe v. United States, 487 U.S.
 7   201, 219 (1988) (Stevens, J., dissenting) (citing Boyd v. United States, 116 U.S. 616,
 8   633-635 (1886); Fisher v. United States, 425 U.S. 391, 420 (1976) ); see also United
 9   States v. Kirschner, 823 F.Supp.2d 665, 669 (E.D. Mich. 2010) (citing Doe, 487 U.S.
10   at 208 n. 6, 108 S.Ct. 2341); Com. v. Baust, 89 Va. Cir. 267, 2014 WL 10355635, at
11   *4 (2014). The Doe Court explained, “There are very few instances in which a verbal
12   statement, either oral or written, will not convey information or assert facts. The vast
13   majority of verbal statements thus will be testimonial and, to that extent at least, will
14   fall within the privilege.” Doe, at 213–14.1
15         In Oakland, supra, the Court held that the Fifth Amendment prohibited the
16   government from compelling the suspects to divulge their passcodes, noting:
17         In fact, the prejudice that suspects may suffer should the Fifth
18         Amendment be ignored at this juncture – both due to the practical
19
           1
20
             These cases – and others cited in Oakland – all involve a court order for the
     production of the passcode or biometric information in the form of an application for
21   a search warrant or subpoenas for passcodes (which are then sought to be quashed).
22   Our case is different insofar as at the time Warpinski surreptitiously captured Mr.
     Booker’s passcode, he had no warrant and no subpoena for either the passcode or the
23   contents of the cell phone. Thus the “foregone conclusion doctrine” – which is an
24   exception to the application of the Fifth Amendment to the act of production in
     response to a subpoena – does not apply here. Moreover, the Oakland Court noted
25   that due to the unique capability of a cell phone to contain more private information
26   that even a house or a safe, “any argument that compelling a suspect to provide a
     biometric feature to access documents and data is synonymous with producing
27
     documents pursuant to a subpoena would fail.” Oakland, at 1017 (citing Riley, at
28   398-99).
                                                 8
 Case 3:18-cr-02611-GPC Document 71-1 Filed 05/24/19 PageID.654 Page 9 of 11



 1         difficulty in prevailing on a motion to suppress and the fact that they are
 2         not represented in the warrant process – gives rise to the moral
 3         imperative demanding consideration of the Fifth Amendment. To do
 4         otherwise would be a miscarriage of justice.
 5   Ibid. at 1013.
 6         In the Oakland case, the police sought to compel any person at the “subject
 7   premises” to provide a finger, thumb, or any other biometric feature to unlock any
 8   digital device seized during a search. After finding that provision of the warrant
 9   overbroad, the Court went on to discuss the Fifth Amendment implications with
10   regard to self-incrimination. Id. at 1014-1018. The Oakland Court recognized that
11   while technology is outpacing the law, citizens deserve protection when using new
12   technology and the average citizen is not contemplating waiving their rights when
13   buying a new phone or other device.
14         The Fifth Amendment privilege protects one from furnishing a link in the chain
15   of incrimination when that link involves the suspect being required to testify against
16   himself via a communication – a passcode. Because biometric features (which unlock
17   of call phone) are functionally equivalent to passcodes insofar as both “secure the
18   owner’s content” on the device, biometric features are protected just as passcodes are
19   protected. Id. at 1015. The Oakland Court also recognized that certain applications
20   within the phone containing sensitive information, like banking or health records,
21   require the biometric data or passcode in order to access the application’s
22   information. Id. at 1016. The court then analogized such information to responses to
23   questioning pursuant to a polygraph examination, which would of course be
24   considered testimonial under Schmerber v. California, 384. U.S. 757, 764 (1966). In
25   sum, the passcode is testimonial and therefore protected by the Fifth Amendment.
26   The taking (compelling) of the passcode was therefore a violation of Mr. Booker’s
27   Fifth Amendment rights.
28

                                                9
 Case 3:18-cr-02611-GPC Document 71-1 Filed 05/24/19 PageID.655 Page 10 of 11



 1   C. The Passcode Was A Statement Taken in Violation of Mr. Booker’s Sixth and
 2   Fifth Amendment Rights.
 3         As has been briefed extensively before this Court (ECF Docs 27, 42, 54, 61, 67
 4   & 69), the statements of Mr. Booker on May 25 were taken in violation of his rights
 5   under Miranda and the Sixth Amendment. Mr. Booker invoked his right to counsel at
 6   the beginning of the interrogation and twice invoked his right silence by telling the
 7   agents he wanted to “stop” or terminate the interrogation. The agents did not abide by
 8   the law or his invocations. Instead, they repeatedly used strong-arm tactics to scare
 9   and intimidate Mr. Booker in order to illegally elicit statements.
10         Throughout the interrogation, Mr. Booker indicated he was on anti-depressant
11   and anti-anxiety medications. The agents used Mr. Booker’s vulnerability as a rouse
12   to trick him into inputting his passcode to his cell phone where they could see and
13   capture the passcode. This they did after Mr. Booker invoked his right to counsel.
14         In a similar situation, the District Court for the Eastern District of New York
15   held that asking the defendant for his passcode to his iPhone 5 violated Miranda
16   leading to the suppression not only of the passcode itself, but of the two searches of
17   the phone made possible by the fact the agents had the passcode. United States v.
18   Djibo, 151 F.Supp.3d 297 (E.D.N.Y. 2015). The Djibo Court discussed and applied
19   both Riley, supra, and United States v. Patane, 542 U.S. 630 (2004). Articulating
20   many of the arguments made by Mr. Booker in ECF Doc. 61, the Djibo Court held
21   that the first warrantless search of the iPhone 5 (using the passcode) and the later
22   search of the iPhone 5 with a warrant were illegal, holding, “any documents obtained
23   by virtue of Djibo providing his passcode are suppressed as either a fruit of the
24   unlawful inquiry by [HSI Agent] Wilburt after the CBP search ended, and/or fruit of
25   the admittedly poisonous ‘peek’ [at the contents of the iPhone 5].” Id. at 310.
26         Just as the passcode in Djibo was taken in violation of Miranda, so too was the
27   passcode for Mr. Booker’s iPhone 6 Plus taken in violation of Miranda and his Sixth
28

                                                10
 Case 3:18-cr-02611-GPC Document 71-1 Filed 05/24/19 PageID.656 Page 11 of 11



 1   Amendment right to counsel. For the same reasons articulated in Djibo, the fruits of
 2   the illegally obtained passcode should be suppressed here. Therefore all evidence on
 3   the phone (especially statements in messaging apps and emails) must be suppressed.
 4   See also, CM/ECF Doc. 61, pp. 5-12; United States v. Patane, 542 U.S. 630 (2004).
 5         Moreover, because Mr. Booker’s revelation of the passcode was involuntary in
 6   this case, i.e., he was tricked into inputting the passcode within Warpinski’s line of
 7   sight, all fruits of this involuntary statement must be suppressed as a fruit of an
 8   involuntary statement. Collazo v. Estelle, 940 F.2d 411 (1991); see also CM/ECF
 9   Doc. 61, pp 8-11.
10                                              III.
11                                       CONCLUSION
12         Here the conduct of the agents constituted a clear and multifaceted violation of
13   Mr. Booker’s rights. The agents asked for consent to search his phone and Mr.
14   Booker clearly and repeatedly denied consent. (TR pp. 35, 47-48). The agents
15   advised Mr. Booker of his rights under Miranda and Mr. Booker invoked his right to
16   counsel and right to remain silent. (TR p. 6). Despite Mr. Booker’s clear and
17   repeated statements invoking his right to protect the contents of his phone under the
18   Fourth, Fifth and Sixth Amendments, Warpinski illegally and unconstitutionally
19   seized the passcode. Without the passcode, agents would have been unable to access
20   and search the iPhone 6 Plus. Thus, all information obtained directly or indirectly
21   from the iPhone 6 Plus must be suppressed as a fruit of the poisonous “peek”.
22
23                                           Respectfully submitted,
24                                           S/Martha M. Hall
25   Dated: May 24, 2019                     MARTHA M. HALL
26                                           Attorney at Law
27                                           Attorney for Booker
28

                                                 11
